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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.                                            Criminal Action No. 1:14-cr-89-11

 TERRI SHUTTLESWORTH,

                  Defendant.

                      OPINION/REPORT AND RECOMMENDATION
                    CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Terri Shuttlesworth, in person and by counsel, Edmund Rollo, appeared before me on February 25,

 2015. The Government appeared by Zelda Wesley, its Assistant United States Attorney. The Court

 determined that Defendant was prepared to enter a plea of “Guilty” to Count Twenty-Five of the

 Indictment.

        The Court proceeded with the Rule 11 hearing by first placing Defendant under oath.

        The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

 asked the Government to tender the original to the Court. The Court asked counsel for the

 Government to summarize the written plea agreement and also asked counsel for the Government if

 the agreement was the sole written agreement offered to Defendant. The Government responded that

 it was and counsel for Defendant concurred. Counsel for the Government also advised that subsequent

 to the signing of the plea agreement, the parties agreed that the, pursuant to the Guidelines,

 Defendant’s base offense level would be 12, and that the Government would move for a two-level

 reduction based upon Defendant’s role in the offense. Counsel for Defendant concurred with the

 Government’s statement. Defendant stated that both the written and oral agreements as summarized
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 by counsel for the Government were correct and complied with her understanding. The Court

 ORDERED the written plea agreement filed.

         The Court then inquired of Defendant whether she was a citizen of the United States.

 Defendant responded that she is a citizen. The undersigned asked Defendant whether she understood

 that if she were not a citizen of the United States, by pleading guilty to a felony charge she would be

 subject to deportation at the conclusion of any sentence; that she would be denied future entry into the

 United States; and that she would be denied citizenship if she ever applied for it. Defendant stated that

 she understood.

         The Court inquired of Defendant concerning her understanding of her right to have an Article

 III Judge hear the entry of her guilty plea and her understanding of the difference between an Article

 III Judge and a Magistrate Judge. Defendant stated in open court that she voluntarily waived her right

 to have an Article III Judge hear her plea and voluntarily consented to the undersigned Magistrate

 Judge hearing her plea, and tendered to the Court a written Waiver of Article III Judge and Consent

 To Enter Guilty Plea Before Magistrate Judge, which waiver and consent was signed by Defendant

 and countersigned by Defendant’s counsel and was concurred in by the signature of the Assistant

 United States Attorney appearing.

         Upon consideration of the sworn testimony of Defendant, as well as the representations of her

 counsel and the representations of the Government, the Court finds that the oral and written waiver of

 Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and voluntarily

 given and the written waiver and consent was freely and voluntarily executed by Defendant, Terri

 Shuttlesworth, only after having had her rights fully explained to her and having a full understanding

 of those rights through consultation with her counsel, as well as through questioning by the Court. The




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 Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a Magistrate Judge

 filed and made part of the record.

         The undersigned then reviewed with Defendant Count Twenty-Five of the Indictment and the

 elements the Government would have to prove, charging her with distribution of oxycodone, in

 violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). The undersigned then reviewed with Defendant

 the statutory penalties applicable to an individual adjudicated guilty of the felony charges contained

 in Count Twenty-Five of the Indictment, the impact of the sentencing guidelines on sentencing in

 general, and inquired of Defendant as to her competency to proceed with the plea hearing. From said

 review the undersigned Magistrate Judge determined Defendant understood the nature of the charge

 pending against her and understood the possible statutory maximum sentence which could be imposed

 upon her conviction or adjudication of guilty on that charge was imprisonment for a term of not more

 than twenty (20) years; understood that a fine of not more than $1,000,000.00 could be imposed;

 understood that both fine and imprisonment could be imposed; understood she would be subject to a

 period of at least three (3) years supervised release; and understood the Court would impose a special

 mandatory assessment of $100.00 for the felony conviction payable on or before the date of

 sentencing. She also understood that her sentence could be increased if she had a prior firearm

 offense, violent felony conviction, or prior drug conviction. She also understood she might be required

 by the Court to pay the costs of her incarceration and supervised release.

         The undersigned also reviewed with Defendant her waiver of appellate and collateral attack

 rights as follows:

 Ct.     Do you understand that you have a very valuable right to appeal your conviction, your

         sentence, and how your sentence was calculated and is imposed to the Fourth Circuit Court of

         Appeals by giving appropriate notice of intent to appeal within 14 days of sentencing?


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 Def.   Yes.

 Ct.    Do you also understand that you have another very valuable right that allows you to file a

        motion under–commonly called a habeas corpus motion–under various federal statutes,

        including, but not limited to, 28 U.S.C. § 2255, where you collaterally attack or challenge the

        sentence and how that sentence was calculated and how it’s being carried out?

 Def.   Yes.

 Ct.    Do you understand that under your plea agreement, if your actual sentence is the same as a

        Guideline sentence would have been that starts out at a base offense level of 10 or lower, then

        you give up your right to appeal to the Fourth Circuit and you give up your right to collaterally

        attack or challenge that sentence by filing the writ of habeas corpus type motion?

 Def.   Yes.

 Ct.    Did you intend to give up those two valuable rights as set forth in paragraph 11 a and b?

 Def.   Yes.

 Ct.    Do you fully understand that the only things you’re reserving to yourself is the right to file a

        collateral attack or appeal based upon ineffective assistance of counsel or prosecutorial

        misconduct?

 Def.   Yes.

 Ct.    Do you know about any prosecutorial misconduct today?

 Def.   No.

 Ct.    Do you know about any ineffective assistance of counsel as you sit here today?

 Def.   No.

 Ct.    So you fully understand that you’re going to have to discover that, if there is any, after today,

        because you don’t know about it today?


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 Def.   Yes.

        From the colloquy, the undersigned determined that Defendant understood her appellate and

 collateral attack rights and knowingly gave up those rights pursuant to the condition contained in the

 written plea agreement.

        The undersigned Magistrate Judge further examined Defendant relative to her knowledgeable

 and voluntary execution of the written plea bargain agreement, and determined the entry into said

 written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant. The

 undersigned then inquired of Defendant regarding her understanding of the written plea agreement.

 Defendant stated she understood the terms of the written plea agreement and also stated that it, along

 with the two representations discussed above, contained the whole of her agreement with the

 Government and promises or representations were made to her by the Government or other persons,

 including her own attorney, other than those terms contained in the written plea agreement.

        The undersigned Magistrate Judge further inquired of Defendant, her counsel, and the

 Government as to the non-binding recommendations and stipulation contained in the written plea

 bargain agreement and determined that Defendant understood, with respect to the plea bargain

 agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count

 Twenty-Five of the Indictment, the undersigned Magistrate Judge would write the subject Report and

 Recommendation and would further order a pre-sentence investigation report be prepared by the

 probation officer attending the District Court. The undersigned advised the Defendant that the District

 Judge would adjudicate the Defendant guilty of the felony charged under Count Twenty-Five of the

 Indictment. Only after the District Court had an opportunity to review the pre-sentence investigation

 report, would the District Court make a determination as to whether to accept or reject any

 recommendation or stipulation contained within the plea agreement or pre-sentence report. The


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 undersigned reiterated to the Defendant that the District Judge may not agree with the

 recommendations or stipulation contained in the written agreement. The undersigned Magistrate Judge

 further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the event

 the District Court Judge refused to follow the non-binding recommendations or stipulation contained

 in the written plea agreement and/or sentenced her to a sentence which was different from that which

 she expected, she would not be permitted to withdraw her guilty plea. Defendant acknowledged her

 understanding and Defendant maintained her desire to have her plea of guilty accepted.

        Defendant also understood that her actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted.      The undersigned also advised,

 and Defendant stated that she understood, that the Sentencing Guidelines are no longer mandatory, and

 that, even if the District Judge did not follow the Sentencing Guidelines or sentenced her to a higher

 sentence than she expected, she would not have a right to withdraw her guilty plea. Defendant further

 stated her attorney showed her how the advisory guideline chart worked but did not promise her any

 specific sentence at the time of sentencing. Defendant stated that she understood her attorney could

 not predict or promise her what actual sentence she would receive from the sentencing judge at the

 sentencing hearing. Defendant further understood there was no parole in the federal system, although

 she may be able to earn institutional good time, and that good time was not controlled by the Court,

 but by the Federal Bureau of Prisons.

        The Court heard testimony from Sergeant Joe Adams of the West Virginia State Police’s

 Bureau of Criminal Investigations. Sergeant Adams testified that on February 19, 2014, a confidential

 informant (“CI”) texted Defendant to arrange a purchase of oxycodone pills. The CI picked Sergeant

 Adams up at the Coliseum in Morgantown, West Virginia, within the Northern District of West

 Virginia, and they subsequently picked up Defendant from a residence in Morgantown. Sergeant


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 Adams gave Defendant currency in exchange for a quantity of oxycodone. They then dropped

 Defendant back off at the residence.

        Defendant stated she heard, understood, and did not disagree with Sergeant Adams’ testimony.

 The undersigned United States Magistrate Judge concludes the offense charged in Count Twenty-Five

 of the Indictment is supported by an independent basis in fact concerning each of the essential

 elements of such offense. That independent basis is provided by Sergeant Adams’ testimony.

        Defendant, Terri Shuttlesworth, with the consent of her counsel, Edmund Rollo, proceeded to

 enter a verbal plea of GUILTY to the felony charge in Count Twenty-Five of the Indictment.

        Upon consideration of all of the above, the undersigned Magistrate Judge finds that Defendant

 is fully competent and capable of entering an informed plea; Defendant is aware of and understood her

 right to have an Article III Judge hear and accept her plea and elected to voluntarily consent to the

 undersigned United States Magistrate Judge hearing and accepting her plea; Defendant understood the

 charges against her, not only as to the Indictment as a whole, but in particular as to Count Twenty-Five

 of the Indictment; Defendant understood the consequences of her plea of guilty, in particular the

 maximum statutory penalty to which she would be exposed; Defendant made a knowing and voluntary

 plea of guilty to Count Twenty-Five of the Indictment; and Defendant’s plea is independently

 supported by Sergeant Adams’ testimony, which provides, beyond a reasonable doubt, proof of each

 of the essential elements of the charge to which Defendant has pled guilty.

        The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to Count

 Twenty-Five of the Indictment herein be accepted conditioned upon the Court’s receipt and review of

 this Report and Recommendation.

        The undersigned further directs that a pre-sentence investigation report be prepared by the adult

 probation officer assigned to this case.


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        Defendant is remanded to the custody of the United States Marshal Service pending further

 proceedings in this matter.

        Any party may, within fourteen (14) days after being served with a copy of this Report and

 Recommendation, file with the Clerk of the Court written objections identifying the portions of the

 Report and Recommendation to which objection is made, and the basis for such objection. A copy of

 such objections should also be submitted to the Honorable Irene M. Keeley, United States District

 Judge. Failure to timely file objections to the Report and Recommendation set forth above will result

 in waiver of the right to appeal from a judgment of this Court based upon such report and

 recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert.

 denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474

 U.S. 140 (1985).

        The Clerk of the Court is directed to send a copy of this Report and Recommendation to

 counsel of record.

        Respectfully submitted this 2nd day of March, 2015.




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                                                       JOHN S. KAULL
                                                       UNITED STATES MAGISTRATE JUDGE




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